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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                 CASE NO.   3:00cr48/LAC/MD
                                                                     3:05cv204/LAC/MD

PHILLIP NESMITH

                                    REFERRAL AND ORDER

Referred to Magistrate Judge Davis on    December 8, 2006
Type of Motion/Pleading: MOTION TO PROCEED IN FORMA PAUPERIS ON 2255
TO COMPLETION.
Filed by: DEFENDANT              on 12/8/06       Document 1557
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on               Doc.#
                                 on               Doc.#
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                                /s/ Teresa Cole
                                               Deputy Clerk: Teresa Cole

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this 10th day of
January, 2007, that:
(a)    The requested relief is MOOT.
(b)    No filing fee is required for § 2255 motions.                 While the court
       neither accepts nor rejects defendant’s allegations of poverty,
       he has offered no legal authority to support his suggestion that
       he is entitled to expansive discovery at the government’s
       expense.




                                               /s/   Miles Davis
                                               MILES DAVIS
                                               UNITED STATES MAGISTRATE JUDGE
Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
